AO 257 (Rev. 6/78)           Case 3:22-cr-00426-CRB Document 3-1 Filed 11/09/22 Page 1 of 1

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION               INDICTMENT                        Name of District Court, and/or Judge/Magistrate Location
                                                             SUPERSEDING                         NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                           SAN FRANCISCO DIVISION
 18 U.S.C. § 1201(d) – Attempted Kidnapping of a Federal             Petty
 Officer or Employee;
                                                                     Minor              DEFENDANT - U.S
 18 U.S.C. § 115(a)(1)(A) – Assault of an Immediate Family
 Member of a Federal Official                                        Misde-
                                                                     meanor
                                                                                       DAVID WAYNE DEPAPE
                                                                     Felony
                                                                                           DISTRICT COURT NUMBER
PENALTY:      Maximum Imprisonment: Life
              Fine: $250,000                                                               3:22-MJ-71419                     CR22-426 CRB
              Mandatory Supervision: Five Years
              Forfeiture
                                                                                                                                    FILED
                                                                                                                     DEFENDANT
                              PROCEEDING                                                     IS NOT IN CUSTODY                     Nov 09 2022
                                                                                               Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                            1)       If not detained give date any priorMark B. Busby
                                       FBI
                                                                                               summons was served on above                 
                                                                                                                                  U.S. DISTRICT COURT
                                                                                                                          CLERK,charges
                                                                                                                       NORTHERN DISTRICT OF CALIFORNIA
       person is awaiting trial in another Federal or State Court,                    2)       Is a Fugitive                  SAN FRANCISCO
       give name of court

                          San Francisco Superior Court                                3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                             IS IN CUSTODY
                                                                                      4)       On this charge
       this is a reprosecution of

                                                                                                                                }
       charges previously dismissed                                                   5)       On another conviction
       which were dismissed on motion                          SHOW                                                                       Federal         State


                                                        }
       of:                                                   DOCKET NO.
                                                                                      6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                If answer to (6) is "Yes", show name of institution
                                                                                                               San Francisco Superior Court
       this prosecution relates to a

                                                                                                                         }
                                                                                                               Yes            If "Yes"
       pending case involving this same                                                    Has detainer
                                                                                                                              give date
       defendant                                             MAGISTRATE                    been filed?         No             filed


                                                        }
                                                              CASE NO.
       prior proceedings or appearance(s)                                                  DATE OF
                                                                                           ARREST
                                                                                                                     Month/Day/Year
                                                                                                                             10/28/22
       before U.S. Magistrate regarding this
       defendant were recorded under                                                       Or... if Arresting Agency & Warrant were not

                                                                                                                                    Month/Day/Year
Name and Office of Person
Furnishing Information on this form
                                                                                           DATE TRANSFERRED
                                                                                           TO U.S. CUSTODY
                                                                                                                         
                                 U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                          This report amends AO 257 previously submitted
Attorney (if assigned)
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*               WARRANT          Bail Amount: No Bail
        If Summons, complete following:
             Arraignment    Initial Appearance                                * Where defendant previously apprehended on complaint, no new summons or
                                                                              warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                              Date/Time:                                 Before Judge:

        Comments:
